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 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK


 CURTIS BROWN,

                                       Plaintiff,

                        v.                                                     5:01-CV-1523
                                                                                (FJS/DEP)
 CITY OF SYRACUSE,

                                       Defendant.


 APPEARANCES                                          OF COUNSEL

 OFFICE OF A.J. BOSMAN                                A.J. BOSMAN, ESQ.
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 Attorneys for Plaintiff

 CITY OF SYRACUSE CORPORATION                         DAVID H. WALSH, IV, ESQ.
 COUNSEL                                              TERRI BRIGHT, ESQ.
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 Syracuse, New York 13202
 Attorneys for Defendant


 SCULLIN, Chief Judge

                             MEMORANDUM-DECISION AND ORDER

                                       I. INTRODUCTION

        Remaining in this action are Plaintiff’s 42 U.S.C. § 1981, Title VII disparate treatment,

 and New York State Human Rights Law claims. Currently before the Court are Defendant’s

 motion for summary judgment pursuant to Rule 56(b) of the Federal Rules of Civil Procedure

 and Plaintiff’s cross-motion for additional time for discovery pursuant to Rule 56(f) of the

 Federal Rules of Civil Procedure.
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                                        II. BACKGROUND

        The following facts are not in dispute.1 The Syracuse Police Department (“SPD”)

 appointed Plaintiff as a police officer in September 1996. On April 27, 2000, Plaintiff met a

 female, then 15 years old, at a restaurant and subsequently rented a hotel room for her. Later that

 day, Lieutenant Brennan of the SPD questioned Plaintiff about the female’s whereabouts and

 whether he had rented a hotel room for her. Plaintiff stated that he had no knowledge of her

 whereabouts and that he had rented a hotel room for his cousin.

        On April 28, 2000, Plaintiff picked up the same female at Carousel Mall and took her to

 school. Later that day, Captain Galvin of the SPD’s Internal Affairs Division (“IA”) asked

 Plaintiff whether he had had any contact with the female on April 27 or 28, 2000. He answered

 that he had not. That same day, the SPD placed Plaintiff on administrative suspension.

        On June 20, 2000, Plaintiff pled guilty in Dewitt Town Court, County of Onondaga, State

 of New York, to one count of Endangering the Welfare of a Child, a class A misdemeanor. See

 N.Y. Penal Law § 260.10 (McKinney 2005). On July 5, 2000, the SPD suspended Plaintiff

 without pay pending termination.

        On October 12, 2000, Plaintiff filed a verified complaint with the New York Division of

 Human Rights (“NYDHR”) alleging racial discrimination against Defendant. On October 9,

 2001, Plaintiff filed the instant action. On July 25, 2002, the Court dismissed all of Plaintiff’s



        1
          Although Plaintiff disputes the relevance or materiality of many of these facts, he does
 not dispute their factuality.

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 claims except for the ones mentioned above. See Dkt. No. 19 at 13-14. On August 9, 2002, the

 NYDHR dismissed Plaintiff’s verified complaint on grounds of administrative convenience. See

 Dkt. No. 21 at 3.



                                         III. DISCUSSION

 A.     Plaintiff’s cross-motion for additional time for discovery

        Plaintiff has not identified any facts essential to his remaining claims that he cannot

 establish without further discovery. See Fed. R. Civ. P. 56(f). Accordingly, the Court denies

 Plaintiff’s cross-motion for additional time for further discovery.


 B.     Defendant’s motion for summary judgment

        1. Standard of review

        A court may grant summary judgment when the moving party carries its burden of

 showing the absence of a genuine issue of material fact. See Fed. R. Civ. P. 56(c). In making

 this determination, the court must resolve all ambiguities and draw all reasonable inferences in a

 light most favorable to the non-moving party. See Bryant v. Maffucci, 923 F.2d 979, 982 (2d

 Cir. 1991) (citation omitted). If the moving party has met its burden, the nonmoving party may

 not rely upon his pleadings but must come forward with specific facts showing that there is a

 genuine issue for trial. See Fed. R. Civ. P. 56(e).


        2. Plaintiff’s Title VII disparate treatment claim

        Under McDonnell Douglas, Plaintiff must first establish a prima facie case of disparate

 treatment on the basis of race. See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-04


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 (1973). If Plaintiff can make that showing, the burden of production shifts to Defendant “to

 articulate some legitimate, nondiscriminatory reason” for terminating Plaintiff. Id. at 802. If

 Defendant successfully articulates a legitimate nondiscriminatory reason, the burden of proof

 shifts back to Plaintiff to demonstrate that Defendant’s reason for termination is mere pretext.

 See id. at 804.

        To establish a prima facie case of disparate treatment under Title VII, Plaintiff must

 establish the following four elements by a preponderance of the evidence: (1) that he was a

 member of a protected class; (2) that he was qualified for the position that he held; (3) that

 Defendant took an adverse employment action against him; and (4) that the adverse employment

 action occurred under circumstances giving rise to an inference of discrimination. See Feingold

 v. N.Y., 366 F.3d 138, 152 (2d Cir. 2004) (citation omitted).

        In the instant case, Plaintiff has clearly established the first three elements of a prima

 facie Title VII disparate treatment case. He is African-American. See Affidavit of Curtis

 Brown, sworn to March 13, 2005, at ¶ 4. Defendant hired him as a police officer. See

 Defendant’s Statement of Material Facts at ¶ 1. On July 5, 2000, Defendant suspended Plaintiff

 without pay pending his termination. See id. at ¶ 24.

        The question remains whether Defendant’s termination of Plaintiff occurred under

 circumstances giving rise to an inference of discrimination. Plaintiff appears to try to establish

 this fourth element of his prima facie Title VII disparate treatment case by identifying four

 police officers whom Defendant disciplined less severely for similar or worse conduct. Indeed,

 “[a] showing of disparate treatment – that is, a showing that the employer treated plaintiff ‘less

 favorably than a similarly situated employee outside his protected group’ – is a recognized


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 method of raising an inference of discrimination for purposes of making out a prima facie case.”
 Mandell v. County of Suffolk, 316 F.3d 368, 379 (2d Cir. 2003) (citation omitted). “‘[S]imilarly

 situated’” means “‘similarly situated in all material respects.’” Graham v. Long Island R.R., 230

 F.3d 34, 39 (2d Cir. 2000) (quotation omitted). “What constitutes ‘all material respects’ . . . must

 be judged based on (1) whether the plaintiff and those he maintains were similarly situated were

 subject to the same workplace standards and (2) whether the conduct for which the employer

 imposed discipline was of comparable seriousness.” Id. at 40 (citation omitted).

        Plaintiff identifies the first allegedly similarly-situated police officer as “Officer No. 28.”

 A woman who was the victim of a crime to which Officer No. 28 responded filed a complaint

 against him with IA. See Dkt. No. 94 at Pt. 5 at 1-6. The essential nature of the complaint was

 that Officer No. 28 made sexual advances toward complainant, fondled her, and unnecessarily

 visited her residence subsequent to the crime to which he initially responded. See id. There is

 no indication that Officer No. 28 was criminally prosecuted, and the IA report contains no

 indication as to what criminal charge, if any, might have been appropriate. However, it appears

 that the facts stated might be sufficient to support a charge of Sexual Abuse in the Third Degree,

 a class B misdemeanor. See Deposition of Thomas C. Galvin, taken September 8, 2004, at

 140:23; N.Y. Penal Law § 130.55. The report notes that there was no physical evidence to

 support the complainant’s claims and no witnesses to the primary events other than she and

 Officer No. 28. See Dkt. No. 94 at Pt. 5 at 5-6. Nevertheless, Officer No. 28 did receive a Letter

 of Reprimand. See id. at 7. However, unlike Plaintiff, Officer No. 28 was neither charged nor

 convicted. Furthermore, the offense for which he might have been charged was a class B rather

 than a class A misdemeanor. Therefore, Officer No. 28 and Plaintiff are not similarly situated.



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        Plaintiff identifies the second allegedly similarly-situated police officer as “Officer No.

 29.” A woman who lived in the same apartment complex as Officer No. 29 filed a complaint

 against him with IA. See Dkt. No. 94 at Pt. 15 at 1-6. The essential nature of the complaint was

 that Officer No. 29 was unnecessarily observing complainant’s and her roommate’s activities,

 removing articles of their clothing from the laundry and returning the articles to them, knocking

 on their apartment door at inappropriate times, and, most seriously, walking around their

 apartment and standing outside its sliding door late at night. See id. An assistant district

 attorney informed IA that this evidence was probably sufficient to sustain a charge of Criminal

 Trespass. See id. at 6. It is not clear to what level of Criminal Trespass the assistant district

 attorney referred. However, the facts presented would only support a charge of Criminal

 Trespass in the Third Degree, a class B misdemeanor. See N.Y. Penal Law § 140.10 (McKinney

 2005). Although it does not appear that Officer No. 29 was criminally prosecuted, Defendant

 suspended him without pay for two months and required him to submit to counseling. See Dkt.

 No. 94 at Pt. 15 at 15-17. However, unlike Plaintiff, Officer No. 29 was neither charged nor

 convicted. Furthermore, the offense for which he might have been charged was a class B rather

 than a class A misdemeanor. Therefore, Officer No. 29 and Plaintiff are not similarly situated.

        Plaintiff identifies the third allegedly similarly-situated police officer as “Officer JR.”

 Officer JR was charged by information with Public Lewdness in violation of New York Penal

 Law § 245.00. See Dkt. No. 94 at Pt. 16 at 26. “Public lewdness is a class B misdemeanor.”

 N.Y. Penal Law § 245.00 (McKinney 2005). The information alleged that Officer JR stood nude

 in front of a window and stroked his penis with the intent that a woman observe him. See Dkt.

 No. 94 at Pt. 16 at 26. The Onondaga County District Attorney filed a negotiated disposition in


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 which he sought to adjourn the case in contemplation of dismissal and in which Officer JR

 agreed to a series of conditions of dismissal, including submission to a psychological evaluation

 and the issuance of a full order of protection. See id. at 4. However, unlike Plaintiff, Officer JR

 was not convicted. Furthermore, the offense for which he was charged was a class B rather than

 a class A misdemeanor. Therefore, Officer JR and Plaintiff are not similarly situated.

        Plaintiff identifies the fourth allegedly similarly-situated police officer as “Officer No.

 24.” Officer No. 24 was involved in a vehicular-pedestrian accident and subsequently arrested

 for Driving While Intoxicated and charged with a violation of New York Vehicle and Traffic

 Law § 1192(3). See Dkt. No. 94 at Pt. 6 at 4, 5. He was fined $500 and required to participate in

 a program. See id. at 3. Since Officer No. 24 had not been previously convicted of Driving

 While Intoxicated, see id. at 4, his offense was a misdemeanor for which he could be fined

 between $500 and $1,000 and/or imprisoned for up to one year. See N.Y. Veh. & Traf. Law

 § 1193(b). Plaintiff is similar to Officer No. 24 in that both were charged and convicted.

 Furthermore, the range of penalties to which Officer No. 24 was subject is equivalent to that for

 a class A misdemeanant. Compare id. with N.Y. Penal Law §§ 70.15, 80.05. However,

 Endangering the Welfare of a Child and Driving While Intoxicated reflect differing degrees of

 departure from the requirements of practical reasonableness. This is seen in the fact that

 Endangering the Welfare of a Child is crime that involves intentional conduct toward a specific

 individual who is a minor and who generally is in a position of trust or care with respect to the

 offender. Therefore, the crimes are of sufficiently different severity that Officer No. 24 and




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 Plaintiff are not similarly situated.2


         Plaintiff has failed to come forward with any evidence that Defendant has disciplined

 similarly-situated, non-African American police officers less severely than it did him.

 Nonetheless, Plaintiff argues that, although Defendant actively sought to prosecute him, it does

 not actively seek to prosecute non-African American police officers. The North Syracuse Police

 Department, however, investigated the events concerning Officer No. 29; the State Police Bureau

 of Criminal Investigation investigated those concerning Officer JR; and the Town of Geddes

 Police Department investigated those concerning Officer No. 24. See Dkt. No. 94 at Pt. 15 at 2,

 Pt. 16 at 18, Pt. 6 at 5. Plaintiff has not explained how, if at all, Defendant influenced those

 prosecutions. Furthermore, although Officer No. 28's allegedly criminal conduct did occur

 within the City of Syracuse, the nature of the allegations indicates that a prosecution of him

 would have been difficult. Therefore, Plaintiff has not shown that Defendant selectively

 prosecuted him on the basis of race.

         Since Plaintiff has failed to identify a similarly-situated police officer whom Defendant

 treated differently, the Court finds that he has not established a prima facie Title VII disparate

 treatment claim and grants Defendant’s motion for summary judgment with respect to that claim.


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           Plaintiff has also made reference to persons whom he identifies as Officers Nos. 12, 6,
 19, 14, and 13. See Amended Affidavit of Curtis Brown, sworn to March 28, 2005 (“Plaintiff’s
 Aff.”), at ¶¶ 19, 21, 22, 23, 24. He claims that he has reviewed these officers’ IA files but that
 his current attorney does not have them. See id. It appears that Plaintiff’s previous counsel
 might have the files for Officers Nos. 12, 6, 14, and 13. See Affidavit of A.J. Bosman, sworn to
 March 14, 2005, at ¶ 9. Plaintiff also refers to Officer RH. See Plaintiff’s Aff. at ¶ 25.
 However, he has neither submitted Officer RH’s file nor explained why he has not done so.
 Since it does not appear that Plaintiff has knowledge of the events concerning these officers
 independent of his reading of these files, the Court finds his statements about them to be hearsay
 and inadmissible.

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        3. Plaintiff’s § 1981 claim

        As the Court previously noted

                Under Section 1981,[ ] Plaintiff is required to plead and prove disparate
                treatment to establish a prima facie case of racial bias. To prove that he
                was punished more severely than similarly situated Caucasian employees
                for violating work rules, Plaintiff must demonstrate that “(1) he did not
                violate the work rule, or (2) he engaged in misconduct similar to someone
                outside the protected group who was disciplined less severely.”


 See Dkt. No. 19 at 7 (citation and internal footnote omitted). Since the Court has already

 determined that Plaintiff has not identified any similarly-situated officers whom Defendant

 treated differently, the Court grants Defendant’s motion for summary judgment with respect to

 Plaintiff’s § 1981 claim.


        4. Plaintiff’s Human Rights Law claim

        Since the Court has granted Defendant’s motion for summary judgment with respect to

 Plaintiff’s claims over which the Court has original jurisdiction, it declines to exercise its

 supplemental jurisdiction over Plaintiff’s Human Rights Law claim pursuant to 28 U.S.C.

 § 1367(c)(3). Accordingly, the Court grants without prejudice Defendant’s motion for summary

 judgment with respect to Plaintiff’s Human Rights Law claim.



                                         IV. CONCLUSION

        After carefully considering the file in this matter, the parties’ submissions, and the

 applicable law, and for the reasons stated herein, the Court hereby



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         ORDERS that Plaintiff’s cross-motion for additional time for discovery pursuant to Rule

 56(f) of the Federal Rules of Civil Procedure is DENIED; and the Court further

         ORDERS that Defendant’s motion for summary judgment is GRANTED with respect to

 Plaintiff’s Title VII and § 1981 claims; and the Court further

         ORDERS that Defendant’s motion for summary judgment is GRANTED WITHOUT

 PREJUDICE with respect to Plaintiff’s Human Rights Law claim pursuant to 28 U.S.C.

 § 1367(c)(3); and the Court further

         ORDERS that the Clerk of the Court enter judgment in favor of Defendant and close this

 case.

 IT IS SO ORDERED.


 Dated: June 8, 2005
        Syracuse, New York




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